              Case 2:11-cr-00428-JAM Document 58 Filed 01/12/12 Page 1 of 4


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 5
     Attorney for Defendant
 6   BRYAN SMITH
 7
 8                              IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               )
                                             )   NO. CR.S-11-0428 GEB
12                        Plaintiff,         )
                                             )   STIPULATION TO CONTINUE STATUS
13          v.                               )   CONFERENCE
                                             )
14                                           )   Date: January 27, 2012
                                             )   Time: 9:00 a.m.
15   BRYAN SMITH                             )   Judge: Hon. Garland E. Burrell
                                             )
16                  Defendant.
     _____________________________
17
            IT IS HEREBY STIPULATED by and between the parties hereto through
18
     their respective counsel, Richard Bender, Assistant United States
19
     Attorney, attorney for plaintiff; Michael E. Hansen, attorney for
20
     defendant Robert Klaus; Mark Reichel, attorney for defendant Bryan
21
     Smith; Steven Bauer, attorney for defendant Kelly Smith; Timothy
22
     Zindel, Assistant Federal Defender, attorney for defendant Daniel
23
     Goldsmith; William Bonham, attorney for defendant Bruce Goldsmith; and
24
     Stanley Kubochi, attorney for defendant Ryder Phillips, that the
25
     previously-scheduled status conference date of January 13, 2012, be
26
     vacated and the matter set for status conference on January 27, 2012,
27
     Stip To January 27, 2012
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              Case 2:11-cr-00428-JAM Document 58 Filed 01/12/12 Page 2 of 4


 1   at 9:00 a.m.
 2          This continuance is requested to allow counsel additional time to
 3   review discovery with the defendants, to examine possible defenses and
 4   to continue investigating the facts of the case.            Plea negotiations are
 5   expected to commence prior to the proposed status conference date.
 6   The Government concurs with this request.
 7          Further, the parties agree and stipulate the ends of justice
 8   served by the granting of such a continuance outweigh the best
 9   interests of the public and the defendants in a speedy trial and that
10   time within which the trial of this case must be commenced under the
11   Speedy Trial Act should therefore be excluded under 18 U.S.C. section
12   3161(h)(7)(B)(iv), corresponding to Local Code T-4 (to allow defense
13   counsel time to prepare), from the date of the parties’ stipulation to
14   and including January 27, 2012.
15          Accordingly, the parties respectfully request the Court adopt this
16   proposed stipulation.
17          IT IS SO STIPULATED.
18   Dated: January 10, 2012                   Respectfully submitted,
19                                             /s/ MARK J. REICHEL FOR
                                               MICHAEL E. HANSEN
20                                             Attorney for Defendant
                                               ROBERT KLAUS
21
     Dated: January 10, 2012                   /s/ MARK J. REICHEL
22                                             MARK REICHEL
                                               Attorney for Defendant
23                                             BRYAN SMITH

24   Dated: January 10, 2012                   /s/ MARK J. REICHEL for
                                               STEVEN BAUER
25                                             Attorney for Defendant
                                               KELLY SMITH
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27
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     Stip To January 27, 2012
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              Case 2:11-cr-00428-JAM Document 58 Filed 01/12/12 Page 3 of 4


 1   Dated: January 10, 2012                    DANIEL J. BRODERICK
                                                Federal Defender
 2
                                                By: /s/ MARK J. REICHEL for
 3                                              TIMOTHY ZINDEL
                                                Assistant Federal Defender
 4                                              Attorney for Defendant
                                                DANIEL GOLDSMITH
 5
     Dated: January 10, 2012                    /s/ MARK J. REICHEL for
 6                                              WILLIAM BONHAM
                                                Attorney for Defendant
 7                                              BRUCE GOLDSMITH
     Dated: January 10, 2012                    /s/ MARK J. REICHEL for
 8                                              STANLEY KUBOCHI
                                                Attorney for Defendant
 9                                              RYDER PHILLIPS
10   Dated:     November 5, 2010                BENJAMIN B. WAGNER
                                                United States Attorney
11
                                                By: /s/ MARK J. REICHEL for
12                                              RICHARD BENDER
                                                Assistant U.S. Attorney
13                                              Attorney for Plaintiff
14                                 [PROPOSED] ORDER
15          The Court, having received, read, and considered the stipulation

16   of the parties, and good cause appearing therefrom, adopts the

17   stipulation of the parties in its entirety as its order.             Based on the

18   stipulation of the parties and the recitation of facts contained

19   therein, the Court finds that it is unreasonable to expect adequate

20   preparation for pretrial proceedings and trial itself within the time

21   limits established in 18 U.S.C. section 3161.           In addition, the Court
     specifically finds that the failure to grant a continuance in this case
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     would deny defense counsel to this stipulation reasonable time
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     necessary for effective preparation, taking into account the exercise
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     of due diligence.          The Court finds that the ends of justice to be
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     served by granting the requested continuance outweigh the best
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     interests of the public and the defendants in a speedy trial.
27
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     Stip To January 27, 2012
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              Case 2:11-cr-00428-JAM Document 58 Filed 01/12/12 Page 4 of 4


 1           The Court orders that the time from the date of the parties'
 2   stipulation, January 10, 2012, to and including January 27, 2012, shall

 3   be excluded from computation of time within which the trial of this

 4   case must be commenced under the Speedy Trial Act, pursuant to 18

 5   U.S.C. section 3161(h)(7)(B)(iv), and Local Code T4 (reasonable time

 6   for defense counsel to prepare).         It is further ordered that the

 7   January 13, 2012 status conference shall be continued until January 27
     2012, at 9:00 a.m.
 8
                                IT IS SO ORDERED.
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     Dated:     January 12, 2012
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12
                                         GARLAND E. BURRELL, JR.
13                                       United States District Judge

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     Stip To January 27, 2012
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